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                             IN THE UNITED STATES DISTRICT COURT
                                       DISTRICT OF UTAH


     MILLROCK INVESTMENT FUND 1, LLC,
                                                              MEMORANDUM DECISION AND
     Plaintiff,                                                       ORDER

     v.                                                         Case No. 2:23-cv-00157-RJS-DAO

     HEALTHCARE SOLUTIONS                                      Chief District Judge Robert J. Shelby
     MANAGEMENT GROUP, INC., et al.,
                                                                Magistrate Judge Daphne A. Oberg
     Defendants.


            Before the court is Plaintiff Millrock Investment Fund 1, LLC’s (Millrock) Rule 56(d)

 Motion seeking to defer any ruling on Defendants Joshua Constantin and Stuart McMahen’s

 joint Motion for Summary Judgment 1 until after the completion of discovery. 2 After careful

 consideration of the parties’ briefing, the court finds additional discovery would likely aid in the

 development of facts essential to an opposition to summary judgment. Thus, the court GRANTS

 Millrock’s Rule 56(d) Motion. Accordingly, the Motion for Summary Judgment is DENIED

 WITHOUT PREJUDICE and may be resubmitted after the January 17, 2025 fact-discovery

 deadline.

                                             BACKGROUND

            This case concerns settlement agreements between Defendant Healthcare Solutions

 Management Group, Incorporated (HSMG) and former HSMG employees, Constantin and

 McMahen. Millrock alleges HSMG initiated these settlements to avoid paying debts owed to


 1
  Dkt. 95, Defendants Joshua Constantin and Stuart McMahen’s Motion for Summary Judgment (Motion for
 Summary Judgment).
 2
  Dkt. 123, Rule 56(d) Motion to Defer or Deny Defendants Joshua Constantin and Stuart McMahen’s Motion for
 Summary Judgment (Rule 56(d) Motion to Defer).
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 Millrock. Consequently, Millrock brought claims against Constantin and McMahen for

 Voidable Transfer. 3

            Constantin and McMahen answered Millrock’s Complaint on July 17, 2023. 4 On March

 15, 2024, they moved for summary judgment on Millrock’s Voidable Transfer claim, 5 and, on

 the same day, the court stayed all case deadlines until May 15, 2024 in light of HSMG’s

 bankruptcy proceedings. 6 The court later stayed the case again until July 31, 2024. 7 However,

 because HSMG’s bankruptcy proceeding was dismissed, the court subsequently lifted the stay

 and ordered the parties to file a proposed amended scheduling order and briefing deadlines for

 pending motions within fourteen days. 8 Consistent with that order, the parties filed a stipulated

 motion with a proposed order that set the close of fact-discovery on January 17, 2025. 9 On

 August 20, 2024, the court stayed the case again as to Constantin and McMahen until September

 10, 2024 after granting a motion filed by Constantin and McMahen’s attorneys to withdraw as

 counsel. 10

            Currently pending in this case is Constantin and McMahen’s joint Motion for Summary

 Judgment on Millrock’s claims for Voidable Transfer. 11 Millrock opposed the motion 12 and also


 3
     Dkt. 28, Second Amended Complaint and Jury Demand (Complaint).
 4
  Dkt. 47, Answer to Second Amended Complaint and Jury Demand (Constantin’s Answer); Dkt. 48, Answer to
 Second Amended Complaint and Jury Demand (McMahen’s Answer).
 5
     Motion for Summary Judgment.
 6
     Dkt. 97, Order Granting Motion to Stay and Motion for Extension of Time.
 7
     Dkt. 110, Memorandum Decision and Order Granting Motion to Extend Stay and Other Deadlines.
 8
     Dkt. 114, Docket Text Order.
 9
  Dkt. 115, Stipulated Motion for an Order Amending Scheduling Order and Setting Briefing Deadlines for Pending
 Motions.
 10
      Dkt. 133, Order Granting Motion to Withdraw as Counsel.
 11
      Motion for Summary Judgment.
 12
    Dkt. 125, Opposition to Defendants Joshua Constantin and Stuart McMahen’s Motion for Summary Judgment
 (Opposition).

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 moved, pursuant to Federal Rule of Civil Procedure 56(d), to defer consideration of the Motion

 for Summary Judgment until the close of discovery. Millrock’s Rule 56(d) Motion is fully

 briefed and ripe for review. 13

                                                      LEGAL STANDARD

             Rule 56(d) provides:

             If a nonmovant shows by affidavit or declaration that, for specified reasons, it cannot
             present facts essential to justify its opposition, the court may: (1) defer considering the
             motion or deny it; (2) allow time to obtain affidavits or declarations or to take discovery;
             or (3) issue any other appropriate order.

 “The general principle of Rule 56[(d)] is that ‘summary judgment [should] be refused when the

 nonmoving party has not had the opportunity to discover information that is essential to his

 opposition.’” 14 The decision to grant a Rule 56(d) motion is within the trial court’s discretion. 15

 Rule 56(d) motions should be granted when the nonmovant shows via affidavit or declaration (1)

 the probable facts are not available, (2) why those facts cannot be presented currently, (3) what

 steps have been taken to obtain these facts, and (4) how additional time will enable the party to

 obtain those facts and rebut the motion for summary judgment. 16




 13
    Rule 56(d) Motion to Defer; Dkt. 142, Defendant McMahen’s Response to Plaintiff’s Opposition to Motion for
 Summary Judgment; Dkt. 143, Defendant Constantin’s Response to Plaintiff’s Opposition to Motion for Summary
 Judgment.
 14
      Price ex rel. Price v. W. Res., Inc., 232 F.3d 779, 783 (10th Cir. 2000) (citation omitted).
 15
      Jensen v. Redev. Agency of Sandy City, 998 F.2d 1550, 1553–54 (10th Cir. 1993) (citation omitted).
 16
      Gutierrez v. Cobos, 841 F.3d 895, 908 (10th Cir. 2016) (citation omitted).

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                                                       ANALYSIS

        I.       Millrock Had No Opportunity to Discover Information Essential to its
                 Opposition. 17

             Millrock has satisfied Rule 56(d) by showing it cannot present facts essential to its

 opposition to Constantin and McMahen’s joint Motion for Summary Judgment. Under Utah law,

 a transfer is voidable by a creditor if (i) the debtor made the transfer with intent to hinder, delay,

 or defraud any creditor of the debtor, or (ii) if the transfer is made without receiving a reasonably

 equivalent value in exchange for the transfer, and the debtor was engaged or was about to engage

 in a business or a transaction for which the remaining assets of the debtor were unreasonably

 small in relation to the business or transaction. 18 McMahen and Constantin’s basis for summary

 judgment is that, despite public filings evidencing a settlement agreement between them and

 HSMG, no capital transfers ever took place, and Millrock cannot point to any evidence to the

 contrary. 19 However, McMahen and Constantin have apparently only volunteered financial

 records related to Defendant Healthcare Solutions Holdings, Inc., a subsidiary of HSMG. 20

 Thus, Millrock was provided no opportunity to discover HSMG financial records or Constantin

 and McMahen’s personal records, 21 and it had no opportunity to depose key individuals that may

 have critical information regarding the settlement agreement and subsequent transfers (including

 McMahen and Constantin themselves). 22


 17
   The court acknowledges additional discovery has likely taken place between Millrock’s Rule 56(d) Motion and
 this Order. However, the court considers Millrock’s 56(d) Motion as of the time it was filed because shortly
 thereafter Millrock was prematurely required to respond to Constantin and McMahen’s Joint Motion for Summary
 Judgment.
 18
      Utah Code § 25-6-202(1).
 19
      See generally, Motion for Summary Judgment.
 20
      Rule 56(d) Motion to Defer at 6–7.
 21
      Id; see also Dkt. 123, Ex. C, Declaration of Bentley J. Tolk ¶¶ 16–19.
 22
      Rule 56(d) Motion to Defer at 9–10; Declaration of Bentley J. Tolk ¶ 19.

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            Accordingly, Millrock has demonstrated that 1) proof of HSMG transfers to Constantin

 and McMahen are presently unavailable; 23 2) facts surrounding the transfers cannot currently be

 presented because they are in Defendants’ control; 24 3) Millrock has taken reasonable steps to

 ascertain these facts in light of the multiple stays in the case; 25 and 4) Millrock intends to use the

 full discovery period to ascertain essential facts by serving subpoenas on entities and financial

 institutions included in Constantin and McMahen’s responses to interrogatories and by deposing

 individuals connected to the settlement agreements. 26

            Constantin and McMahen fail to persuasively oppose Millrock’s Rule 56(d) Motion.

 Instead, they primarily contend that Millrock’s evidentiary basis for the transfers—the publicly

 disclosed settlement agreement—is deficient on its face, does not justify additional discovery,

 and would not produce any evidence of the transfers. 27 Thus, Constantin and McMahen argue

 Millrock’s Rule 56(d) Motion to Defer is “baseless” and a “fishing expedition.” 28

            Even if the court were to agree that Millrock’s basis for alleging that transfers took place

 was tenuous, McMahen and Constantin ignore other facts in the record that potentially offer

 strong support for the other elements of a voidable transfer claim. These include Mr.

 Constantin’s threats to “empty the corporate shell,” 29 the timing of the settlement agreements

 relative to Millrock’s lawsuit, 30 HSMG’s financial state prior to and after the settlement


 23
      Rule 56(d) Motion to Defer at 6–8; Declaration of Bentley J. Tolk ¶ 21.
 24
      Rule 56(d) Motion to Defer at 6–8; Declaration of Bentley J. Tolk ¶ 21.
 25
      Rule 56(d) Motion to Defer at 9; Declaration of Bentley J. Tolk ¶¶ 16–19.
 26
      Rule 56(d) Motion to Defer at 9–10; Declaration of Bentley J. Tolk ¶¶ 17–23.
 27
    See generally Defendant McMahen’s Response to Plaintiff’s Opposition to Motion for Summary Judgment;
 Defendant Constantin’s Response to Plaintiff’s Opposition to Motion for Summary Judgment.
  Defendant McMahen’s Response to Plaintiff’s Opposition to Motion for Summary Judgment at 3; Defendant
 28

 Constantin’s Response to Plaintiff’s Opposition to Motion for Summary Judgment at 3.
 29
      Complaint ¶ 61.
 30
      Declaration of Bentley J. Tolk ¶¶ 5–7.

                                                             5
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 agreements, 31 and Constantin’s prior fraudulent conduct. 32 Accordingly, Millrock’s pursuit for

 additional discovery is not “baseless,” and Millrock is entitled to wait until the end of fact-

 discovery to properly oppose summary judgment.

                                                      CONCLUSION

            For the foregoing reasons, the court GRANTS Millrock’s Rule 56(d) Motion 33 and

 DENIES WITHOUT PREJUDICE McMahen and Constantin’s joint Motion for Summary

 Judgment. 34

                     DATED this 10th day of December, 2024.

                                                       BY THE COURT:



                                                       ______________________________
                                                       ROBERT J. SHELBY
                                                       United States District Judge




 31
      See generally Complaint; Order Granting Motion to Stay and Motion for Extension of Time.
 32
      Rule 56(d) Motion to Defer at 7.
 33
      Dkt. 123.
 34
      Dkt. 95.

                                                           6
